                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION



 VEKO ALIKO, an individual,                                        CIVIL ACTION

                       Plaintiff,
                                                                   Case No. 2:20-cv-725
 v.
                                                                   Judge:
 BOUTIQUE TERE, INC., a Florida corporation (d/b/a
 Marissa Collections)                                              Mag. Judge:

                       Defendant.


                     COMPLAINT AND DEMAND FOR JURY TRIAL

       NOW COMES the Plaintiff, VEKO ALIKO (“ALIKO” or “Plaintiff”) by and through

undersigned counsel, and states the following for her Complaint:

                                     CAUSES OF ACTION

       1.      This is an action brought under the federal Fair Labor Standards Act ("FLSA"), the

Americans with Disabilities Act (ADAAA) and the Florida Civil Rights Act (FCRA) for (1) unpaid

overtime in violation of the FLSA, (2) disability discrimination in violation of the ADAAA, and

(3) disability discrimination in violation of the FCRA.

                                            PARTIES

       2.      The Plaintiff, VEKO ALIKO (“ALIKO”) is an individual and a resident of Florida

who at all material times resided in Collier County, Florida and at all times had enterprise and

individual coverage under the FLSA during her employment with the Defendant. At all material

times, ALIKO was employed by the Defendant as a seamstress. ALIKO’s duties consisted of

altering garments and utilizing supplies from out-of-state, and handling or receiving goods moving


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in commerce. ALIKO performed work primarily in Collier County, Florida, which is within the

Middle District of Florida, during the events giving rise to this case. ALIKO was an employee

within the contemplation of 29 U.S.C. 203(e)(1). Thus, pursuant to 28 U.S.C. 1391(b), venue for

this action lies in the Middle District of Florida.

       3.      The Defendant, BOUTIQUE TERE, INC. (“BOUTIQUE”) is a Florida

corporation and is a covered enterprise under the FLSA (29 U.S.C. §203(d), (r) and (s)).

BOUTIQUE is a retail establishment and has gross annual sales well in excess of $500,000.00 per

year and is engaged in interstate commerce. BOUTIQUE’s employees, including ALIKO, are

engaged in interstate commerce as they work on or otherwise handle goods that are moving in

interstate commerce. BOUTIQUE collects monies from out-of-state sources. BOUTIQUE has

the authority to hire, fire, assign work, withhold work and affect the terms and conditions of

persons like ALIKO. BOUTIQUE supervised and controlled ALIKO’s work schedules and

conditions of employment, in addition to determining the rate and method of payment for ALIKO.

BOUTIQUE maintains employment records of ALIKO. BOUTIQUE was the employer of

ALIKO, and employs in excess of 50 employees.

                                  JURISDICTION AND VENUE

       4.      This Court has jurisdiction of this matter under 28 U.S.C. §1331, 1343(4), 2201

and 2202 and pursuant to the Fair Labor Standards Act (FLSA") 29 U.S.C. §§216(b) and 217. The

jurisdiction of this Court is invoked to secure the protection and redress of the deprivation of rights

secured by the FLSA.

       5.      Venue is proper in the United States District Court for the Middle District of Florida

because the Plaintiffs resides in, and the Defendant conducts business in, and some or all of the

events giving rise to Plaintiff’s claims occurred in Collier County, Florida, which is within the



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Middle District of Florida. Venue is proper in the Fort Myers Division under Local Rule 1.02(b)(5)

since the action accrued primarily in Collier County, which is within the Fort Myers Division.

                                  GENERAL ALLEGATIONS

       6.      ALIKO began her employment with the Defendant on November 4, 2014 as a

seamstress.

       7.      ALIKO performed her assigned duties in a professional manner and was very well

qualified for her position.

       8.      ALIKO’s primary job duties, in relevant part, included manual labor rather than

office work or management.

       FLSA Allegations

       9.      ALIKO was an hourly employee and was paid at the rate of $22 per hour.

       10.     ALIKO’s regular daily duties often began around 8:00 – 8:30 A.M. and could, and

would, often end as late as 7:00 P.M., sometimes later and also included working some weekends.

       11.     The Defendant demanded that ALIKO be available between those hours and

ALIKO did work for the Defendant during that time.

       12.     ALIKO was required by the Defendant to work at least 40-hours per week and

often more, for almost each week of her employment (except during scheduled vacations), but the

Defendant failed to pay ALIKO her lawful overtime wages.

       13.     The Defendant failed to act in good faith under the reasonable belief it had complied

with the FLSA.

       14.     ALIKO is entitled to liquidated damages because the Defendants acted willfully or

with at least a reckless disregard as to the legality of its pay practices in regard to ALIKO.




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        ADA/FCRA Allegations

        15.    On April 3, 2019, ALIKO was involved in a motor vehicle accident while on her

way to work with the Defendant.

        16.    ALIKO was rushed to the hospital and was thereafter diagnosed with impairments

of the musculo-skeletal system.

        17.    ALIKO immediately informed the Defendant, who only advised that she should

focus on her health during her medical absence that it was informed would last until at least May

2019.

        18.    The Defendant later stated to ALIKO that she “may be eligible for a personal Leave

of Absence without pay.”

        19.    At the time of her motor vehicle accident, ALIKO could easily have been afforded

her requested leave as a reasonable accommodation.

        20.    On May 15, 2019, ALIKO presented the Defendant with a physician’s note that

authorized her to return to work as she could perform all of the essential functions of her position.

        21.    However, the Defendant’s attorney informed ALIKO in writing that she cannot

return to work “until you are able to perform all of your essential job functions,” which is an illegal

100% healed policy that violates the ADA and FCRA.

        22.    Knowing that ALIKO suffered from a disability, the Defendant nevertheless

refused to allow her request for reasonable accommodations, specifically informing her on May

28, 2019 that the Defendant “cannot guarantee either that your position will remain available when

you return from your unpaid leave.”




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        23.     Instead, on June 27, 2019, the Defendant’s attorney again refused to reinstate her

and informed ALIKO in writing that the Defendant would not grant her request for medical leave,

and that her employment was being retroactively terminated, effective April 3, 2019.

                COUNT I: VIOLATION OF THE FLSA- UNPAID OVERTIME

        24.     The Plaintiff hereby incorporate Paragraphs 1-14 in this Count as though fully set

forth herein.

        25.     ALIKO was a covered, non-exempt employee under the FLSA at all times during

her employment as a seamstress with the Defendant.

        26.     The Defendant was required by the FLSA to pay ALIKO at least time and one-half

for all hours worked by ALIKO in excess of 40 hours per week.

        27.     The Defendant had operational control over all aspects of ALIKO’s day-to-day

functions during her employment, including compensation.

        28.     The Defendant was ALIKO’s "employer" and is liable for violations of the FLSA

in this case.

        29.     The Defendant violated the FLSA by failing to pay ALIKO at least time and one-

half for all hours worked over 40 per week.

        30.     The Defendant has willfully violated the FLSA in refusing to pay ALIKO proper

overtime for all hours worked over 40 per week.

        31.     As a result of the foregoing, ALIKO has suffered damages of lost wages.

        32.     The Defendant is the proximate cause of ALIKO’s damages.

        WHEREFORE, the Plaintiff prays that this Honorable Court enter a Judgment in her favor

and against the Defendant for an amount consistent with evidence, together with liquidated

damages, the costs of litigation, interest, and reasonable attorneys’ fees.



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   COUNT II – VIOLATION OF THE AMERICANS WITH DISABILITIES ACT, AS
                              AMENDED

       33.     The Plaintiff hereby incorporates by reference Paragraphs 1-8 and 15-23 in this

Count by reference as though fully set forth below.

       34.     At all relevant times, ALIKO was an individual with a disability within the

meaning of the ADAAA.

       35.     Specifically, ALIKO has physical impairments that substantially limit one or more

major life activities and bodily functions, has a record of the impairment, and is regarded by the

Defendant as having such impairments.

       36.     ALIKO is a qualified individual with disabilities as that term is defined in the

ADAAA.

       37.     ALIKO is an individual who, with or without reasonable accommodation, at all

relevant times could perform the essential functions of the job with Defendant.

       38.     At all material times, ALIKO was an employee and Defendant was her employer

covered by and within the meaning of the ADAAA.

       39.     Defendant was made aware and was aware of ALIKO’s disabilities, which qualify

under the ADAAA.

       40.     Defendant discriminated against ALIKO with respect to the terms, conditions, and

privileges of employment because of her disabilities.

       41.     Defendant conducted itself with malice or with reckless indifference to ALIKO’s

federally protected rights.

       42.     Defendant discriminated against ALIKO in violation of the ADAAA by interfering

with her enjoyment of all benefits, privileges, terms, and conditions of her employment.




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          43.      The conduct of Defendant altered the terms and conditions of ALIKO’s

employment and ALIKO suffered negative employment action in the form of discipline and

termination.

          44.      As a direct and proximate result of the violations of the ADAAA, as referenced and

cited herein, ALIKO has lost all of the benefits and privileges of her employment and has been

substantially and significantly injured in her career path that was anticipated from her employment.

          45.      As a direct and proximate result of the violations of the ADAAA as referenced and

cited herein, and as a direct and proximate result of the prohibited acts perpetrated against her,

ALIKO is entitled to all relief necessary to make her whole.

          46.      As a direct and proximate result of the Defendant’s actions, ALIKO has suffered

damages, including but not limited to, a loss of employment opportunities, loss of past and future

employment income and fringe benefits, humiliation, and non-economic damages for physical

injuries, mental and emotional distress.

          47.      ALIKO has exhausted her administrative remedies and this count is timely

brought. (See Exhibit A).

          WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, and:

   i.           Injunctive relief directing the Defendant to cease and desist from all disability

                discrimination of all employees;

   ii.          Back pay and all other benefits, perquisites and other compensation for employment

                which plaintiff would have received had she maintained her position with Defendant,

                plus interest, including but not limited to lost salary and bonuses;

   iii.         Front pay, including benefits, insurance costs, benefits costs, and retirement benefits;




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   iv.          Reimbursement of all expenses and financial losses Plaintiff has incurred as a result of

                Defendant’s actions;

   v.           Declaratory relief declaring the acts and practices of Defendant to be in violation of the

                statute cited above;

   vi.          Reasonable attorney's fees plus costs;

   vii.         Compensatory damages;

   viii.        Punitive damages, and;

   ix.          Such other relief as this Court shall deem appropriate.

   COUNT II – VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT- DISABILITY
                            DISCRIMINATION

          48.      The Plaintiff hereby incorporates by reference Paragraphs 1-8 and 15-23 in this

Count by reference as though fully set forth below.

          49.      At all relevant times, ALIKO was an individual with a disability within the

meaning of the FCRA.

          50.      Specifically, ALIKO has physical impairments that substantially limit one or more

major life activities, has a record of the impairment, and is regarded by the Defendant as having

such impairments.

          51.      ALIKO is a qualified individual with disabilities as that term is defined in the

FCRA.

          52.      ALIKO is an individual who, with or without reasonable accommodation, at all

relevant times could perform the essential functions of her own job with Defendant.

          53.      At all material times, ALIKO was an employee and Defendant was her employer

covered by and within the meaning of the FCRA.




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       54.     Defendant was made aware and was aware of ALIKO’s disabilities, which qualify

under the FCRA.

       55.     Defendant discriminated against ALIKO with respect to the terms, conditions, and

privileges of employment because of her disabilities.

       56.     Defendant conducted itself with malice or with reckless indifference to ALIKO’s

protected rights under Florida law.

       57.     Defendant discriminated against ALIKO in violation of the FCRA by interfering

with her enjoyment of all benefits, privileges, terms, and conditions of her employment.

       58.     The conduct of Defendant altered the terms and conditions of ALIKO’s

employment and ALIKO suffered negative employment action in the form of discipline and

termination.

       59.     As a direct and proximate result of the violations of the FCRA, as referenced and

cited herein, ALIKO has lost all of the benefits and privileges of her employment and has been

substantially and significantly injured in her career path that was anticipated from her employment.

       60.     As a direct and proximate result of the violations of the FCRA as referenced and

cited herein, and as a direct and proximate result of the prohibited acts perpetrated against her,

ALIKO is entitled to all relief necessary to make her whole.

       61.     As a direct and proximate result of the Defendant’s actions, ALIKO has suffered

damages, including but not limited to, a loss of employment opportunities, loss of past and future

employment income and fringe benefits, humiliation, and non-economic damages for physical

injuries, mental and emotional distress.

       62.     ALIKO has exhausted her administrative remedies and this count is timely

brought. (See Ex. A).



                                                 9
       WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, and:

i.        Injunctive relief directing Defendant to cease and desist from all disability

          discrimination of all employees;

ii.       Back pay and all other benefits, perquisites and other compensation for employment

          which plaintiff would have received had he maintained his position with Defendant,

          plus interest, including but not limited to lost salary and bonuses;

iii.      Front pay, including benefits, insurance costs, benefits costs, and retirement benefits;

iv.       Reimbursement of all expenses and financial losses Plaintiff has incurred as a result of

          Defendant’s actions;

v.        Declaratory relief declaring the acts and practices of Defendant to be in violation of the

          statute cited above;

vi.       Reasonable attorney's fees plus costs;

vii.      Compensatory damages;

viii.     Punitive damages, and;

ix.       Such other relief as this Court shall deem appropriate.




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                                DEMAND FOR JURY TRIAL

        NOW COMES the Plaintiff, VEKO ALIKO, by and through her undersigned attorneys,

and demands a jury trial under Federal Rule of Civil Procedure 38 on all issues triable of right by

a jury in this action.

                                      Respectfully submitted,


Dated: September 18, 2020             /s/ Benjamin H. Yormak
                                      Benjamin H. Yormak
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